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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                               PLAINTIFF

vs.                                Case No. 4:17CR00024-JM-2

MIGUEL ANGEL FELIX-BELTRAN                                                          DEFENDANT


                                             ORDER

       The Defendant in the above-styled case is not well-versed in the English language and is

unable to understand and comprehend the proceedings being conducted. The Court therefore directs

that an interpreter be appointed, pursuant to Rule 28 of the Federal Rules of Criminal Procedure, to

enable the Defendant to communicate with and comprehend the presiding judicial officers and other

parties at any and all proceedings conducted in Court.

       IT IS ORDERED that the Clerk is to appoint a qualified interpreter to assist the Defendant,

counsel, and the Court at any and all court proceedings in this case.

       IT IS SO ORDERED this 27th day of February, 2017.


                                                     ___________________________________
                                                     UNITED STATES MAGISTRATE JUDGE
